USCA11 Case: 23-12306     Document: 31-1         Date Filed: 08/26/2024   Page: 1 of 6




                                                       [DO NOT PUBLISH]
                                        In the
                United States Court of Appeals
                         For the Eleventh Circuit

                           ____________________

                                  No. 23-12306
                            Non-Argument Calendar
                           ____________________

       UNITED STATES OF AMERICA,
                                                           Plaintiﬀ-Appellee,
       versus
       JANERIO JONES,
       a.k.a. Janerio Lacondre Jones,


                                                       Defendant-Appellant.


                           ____________________

                 Appeal from the United States District Court
                      for the Middle District of Georgia
                 D.C. Docket No. 4:22-cr-00005-CDL-MSH-2
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       2                      Opinion of the Court                  23-12306

                            ____________________

       Before JORDAN, LAGOA, and BRASHER, Circuit Judges.
       PER CURIAM:
               Janerio Jones, a federal prisoner proceeding with counsel,
       appeals his convictions and resulting sentence for two counts of
       Hobbs Act robbery and one count of brandishing a firearm during
       and in relation to Hobbs Act robbery pursuant to a guilty plea. He
       argues that his guilty plea was unknowing and involuntary because
       his trial counsel ineffectively assured him that his base offense level
       would only consider the two specific robberies from the charges to
       which he pleaded guilty, and not the five other robberies he com-
       mitted as stipulated in the plea agreement.
              Jones’s arguments fail. To the extent Jones is challenging his
       counsel’s effectiveness, we cannot review that claim on direct ap-
       peal. To the extent Jones argues that the district court plainly erred
       in accepting his guilty plea, we disagree. Accordingly, we affirm.
                                      I.

              We will start with Jones’s ineffective assistance claim. The
       merits of a claim of ineffective assistance of counsel present a mixed
       question of law and fact that we ordinarily review de novo. Gomez-
       Diaz v. United States, 433 F.3d 788, 790 (11th Cir. 2005). For claims
       of ineffective assistance of counsel, a convicted defendant must
       demonstrate that counsel’s performance was deficient and that the
       deficient performance prejudiced the defense. Strickland v. Wash-
       ington, 466 U.S. 668, 687 (1984).
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       23-12306               Opinion of the Court                          3

               However, the Supreme Court has reasoned that “[w]hen an
       ineffective-assistance claim is brought on direct appeal, appellate
       counsel and the [C]ourt must proceed on a trial record not devel-
       oped precisely for the object of litigating or preserving the claim
       and thus often incomplete or inadequate for this purpose.” Massaro
       v. United States, 538 U.S. 500, 504-05 (2003). Our precedent “re-
       quire[s] the district court to have the opportunity to examine inef-
       fective-assistance claims before” we review them. United States v.
       Padgett, 917 F.3d 1312, 1316 (11th Cir. 2019). Accordingly, “except
       in the rare instance when the record is sufficiently developed, we
       will not address claims for ineffective assistance of counsel on di-
       rect appeal.” United States v. Merrill, 513 F.3d 1293, 1308 (11th Cir.
       2008) (alteration accepted) (quotation marks omitted); see also
       United States v. Griffin, 699 F.2d 1102, 1107-08 (11th Cir. 1983)
       (same); United States v. Puentes-Hurtado, 794 F.3d 1278, 1285 (11th
       Cir. 2015) (same). Rather, the proper venue for a federal defendant
       presenting an ineffective-assistance claim is a collateral attack pre-
       sented in a § 2255 proceeding where necessary evidence on the per-
       formance and prejudice prongs of Strickland can be presented.
       Puentes-Hurtado, 794 F.3d at 1285; Merrill, 513 F.3d at 1308; see also
       Griffin, 699 F.2d at 1109 (noting that rejecting ineffective-assistance
       claims on direct appeal does not deny a person’s right to bring their
       claim in a § 2255 proceeding).
              We have found a record not sufficiently developed for ap-
       pellate review “[a]lthough the record contain[ed] some evidence
       concerning [counsel’s] performance.” Puentes-Hurtado, 794 F.3d at
       1285. Additionally, in United States v. Ahmed, we held that a claim
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       4                       Opinion of the Court                  23-12306

       of ineffective assistance of counsel was not properly before us on
       direct appeal, even when counsel there made statements on the
       record about his communications with the defendant, because the
       statements “were not made under oath, they were not subject to
       cross-examination, and there [was] no way to assess whether any
       communication difficulty prejudiced [the defendant’s] defense.” 73
       F.4th 1363, 1375-76 (11th Cir. 2023).
              Here, the record is not sufficiently developed for us to adju-
       dicate whether Jones’s trial counsel was ineffective. See Merrill, 513
       F.3d at 1308. Any claim Jones wishes to raise would best be raised
       in a § 2255 motion, where he would have the opportunity to
       properly request an evidentiary hearing on his claim. See Massaro,
       538 U.S. at 504-05; Merrill, 513 F.3d at 1308; Puentes-Hurtado, 794
       F.3d at 1285; Griffin, 699 F.2d at 1109. Accordingly, we decline to
       consider Jones’s claim of ineffective assistance of counsel.
                                       II.

               We will now turn to whether Jones has established that the
       district court erred in accepting his guilty plea. Ordinarily, “[t]he
       voluntariness of a guilty plea is a question of law reviewed de novo.”
       United States v. Bushert, 997 F.2d 1343, 1352 (11th Cir. 1993). How-
       ever, when the defendant fails to object to a violation of Rule 11 in
       the district court, we review the court’s compliance with Rule 11
       for plain error. United States v. Monroe, 353 F.3d 1346, 1349 (11th
       Cir. 2003). To establish plain error, a defendant must show that
       there was (1) an error, (2) that is plain, and (3) that affects substan-
       tial rights. United States v. Castro, 455 F.3d 1249, 1253 (11th Cir.
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       23-12306                Opinion of the Court                          5

       2006). When all three conditions are met, we may reverse for plain
       error if the error seriously affects the fairness, integrity, or public
       reputation of judicial proceedings. Id. An error is not plain unless it
       is obvious and clear under current law. Id.              “A plea of guilty is constitutionally valid only to the extent it
       is voluntary and intelligent.” Bousley v. United States, 523 U.S. 614,
       618 (1998). In determining that a defendant’s guilty plea is knowing
       and voluntary, the district court must conduct a plea colloquy to
       ensure that the three core concerns of Rule 11 are met: “(1) the
       guilty plea must be free from coercion; (2) the defendant must un-
       derstand the nature of the charges; and (3) the defendant must
       know and understand the consequences of his guilty plea.” United
       States v. Freixas, 332 F.3d 1314, 1318 (11th Cir. 2003) (quotation
       marks omitted). A defendant’s belief that he can rely on his attor-
       ney’s prediction about his sentencing guideline range is insufficient
       to render a plea involuntary when the district court explicitly ex-
       plains that the sentence it imposes may be different from such a
       prediction. See United States v. Pease, 240 F.3d 938, 941 (11th Cir.
       2001).
              We cannot say the district court plainly erred in accepting
       Jones’s guilty plea as knowing and voluntary. See Monroe, 353 F.3d
       at 1349. The district court’s plea colloquy assessed the core con-
       cerns of Rule 11 and found that Jones’s plea complied with all of
       them. Accordingly, the district court’s plea colloquy was constitu-
       tionally sufficient for the district court to determine that Jones
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       6                      Opinion of the Court                 23-12306

       voluntarily pleaded guilty. See Bousley, 523 U.S. at 618; Freixas, 332
       F.3d at 1318.
                                        III.

              AFFIRMED.
